            Case 2:18-cv-00599-AB Document 188 Filed 09/25/20 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    FRANK DONOFRIO, on behalf of                  :
    himself individually and on behalf of
    those similarly situated,
                   Plaintiff,                     :          CIVIL ACTION
                                                  :          No. 2:18-CV-00599-AB
               v.                                 :
    IKEA US RETAIL, LLC,                          :
               Defendant.                         :

    WILLIAM V. ANTONELLI, JR., on                 :
    behalf of himself individually and on
    behalf of those similarly situated,
                   Plaintiff,                     :          CIVIL ACTION
                   v.                             :          No. 2:19-CV-01286-AB
    IKEA HOLDING US, INC.,                        :
    IKEA US RETAIL, LLC, and
    IKEA NORTH AMERICA
    SERVICES, LLC,
                   Defendants.                    :

    BRANDON PAINE, on behalf of                   :
    himself individually and no behalf of
    those similarly situated,
                   Plaintiff,                     :          CIVIL ACTION
                   v.                             :          No. 2:19-CV-00723-AB
    IKEA HOLDING US, INC.,                        :
    IKEA US RETAIL, LLC, and
    IKEA NORTH AMERICA
    SERVICES, LLC,
                   Defendants.                    :

                                              ORDER

          AND NOW, this 25th day of September, 2020, it is ORDERED that Plaintiffs’ Motion

to Permit Supplemental Notice is GRANTED. On or before October 2, 2020, the parties may

submit edits to the attached revised Supplemental Notice to Unrepresented Opt-In Plaintiffs 1.


1
    Once finalized, the Supplemental Notice to Unrepresented Opt-In Plaintiffs must be sent to
          Case 2:18-cv-00599-AB Document 188 Filed 09/25/20 Page 2 of 2




                                              __s/ANITA B. BRODY, J._____
                                              ANITA B. BRODY, J.


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unrepresented opt-in plaintiffs in the Donofrio, Antonelli, and Paine collective actions.
